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                                                        U.S. Department of Justice
                                                        Civil Division


                                                        Tel: 202-514-2498

VIA CM/ECF

                                                        July 10, 2023

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

RE:   Reese v. ATF (No. 23-30033) (oral argument not yet scheduled)

Dear Mr. Cayce:

       I am the government attorney with principal responsibility for the above-
referenced appeal. Another appeal for which I am principally responsible—Cooper v.
Attorney General, No. 22-13893 (11th Cir.)—has been tentatively calendared for oral
argument during the week of October 2. If Reese is scheduled for argument, I would
be grateful if argument could be set for a date that does not fall within that week.

      Thank you for your consideration.

                                        Sincerely,

                                        /s/ Steven H. Hazel
                                        Steven H. Hazel
                                        Attorney

cc:   all counsel (via CM/ECF)
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                          CERTIFICATE OF SERVICE
       I hereby certify that on July 10, 2023, I electronically filed the foregoing with
the Clerk of the United States Court of Appeals for the Fifth Circuit by using the
appellate CM/ECF system. Participants in the case are registered CM/ECF users and
service will be accomplished by the appellate CM/ECF system.


                                                /s/ Steven H. Hazel
                                               STEVEN H. HAZEL
